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                             UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                                            8Y,.               Qi,<Q
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                             Plaintiff,
                                            COMPLAINT
       vs.
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GREENWAY HEALTH, LLC

                             Defendant.




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT

UNITED STATES OF AMERICA
                                                    Case No. - - - - - - - -
                             Plaintiff,

       vs.                                          JURY TRIAL DEMANDED

GREENWAY HEALTH, LLC

                             Defendant.


                                          COMPLAINT

       1.      The United States of America ("United States") files this complaint for the limited

purpose of settlement to recover damages arising from false statements made and caused by

Defendant Greenway Health, LLC ("Greenway") and arising from false claims that Greenway

caused to be submitted to the Department of Health and Human Services ("HHS") and state

Medicaid agencies for federal incentive payments through the Electronic Health Record ("EHR")

Incentive Program.

       2.      Pursuant to the Health Information Technology for Economic and Clinical Health

Act ("HITECH Act"), HHS established an EHR certification program and the Medicare and

Medicaid EHR Incentive Programs (also known as the "Meaningful Use program"), which

provided incentive payments to healthcare providers ("users" or "customers") who attested to

using, and demonstrated "meaningful use" of, certified EHR technology.

       3.      Greenway is a health information technology ("HIT") and services developer that

developed Prime Suite, an EHR technology marketed and sold to healthcare providers

throughout the United States, including in Vermont. Greenway falsely represented to its

certifying bodies and its users that Prime Suite complied with the requirements for certification,
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and caused its users to falsely attest they were eligible to receive incentive payments under the

Meaningful Use program.

        4.          Since 2011, healthcare providers who used Greenway's Prime Suite software and

attested to using certified EHR technology to satisfy the Meaningful Use objectives and

measures have received incentive payments through the Meaningful Use program.

        5.      At the time of its testing to the 2014 Edition certification criteria in January and

February 2013-and for many years thereafter-Prime Suite was unable to satisfy all applicable

requirements for certification. Instead, Greenway falsely obtained EHR certification for Prime

Suite by: (a) affirmatively misrepresenting to its testing and certifying bodies that Prime Suite

met all applicable certification criteria and/or failing to disclose that its software did not meet the

full scope of the criteria relevant to its certification; and (b) programming its software to satisfy

specific certification testing scenarios known as "test scripts"-which Greenway obtained in

advance of testing-rather than programming Prime Suite to meet the full scope of the

certification criteria. By virtue of that conduct, Greenway caused Prime Suite users to falsely

attest to the Centers for Medicare & Medicaid Services ("CMS") and state Medicaid agencies

that these users met the requirements for receipt of Meaningful Use incentive payments based on

using a certified EHR technology, when in fact Prime Suite did not constitute certified software

as it could not support the full scope of the certification criteria for its users in the clinical setting

("in the field").

        6.      Had Greenway disclosed that its Prime Suite software did not meet the 2014

Edition certification criteria, it would not have been certified and its users would not have been

eligible for incentive payments. Unless otherwise specified, the relevant time period covered by




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Greenway's failure to meet the 2014 Edition certification as described herein is January 1, 2014

to December 31, 2017.

       7.       In addition, Greenway erroneously programmed an earlier version of Prime Suite,

which was certified to the 2011 Edition certification criteria, to calculate improperly certain

Meaningful Use measures. As a result, Greenway provided users of this earlier version of Prime

Suite with inaccurate data regarding Meaningful Use measures, knowing this false information

would cause these Prime Suite users to attest falsely to CMS and state Medicaid agencies that

they were eligible for Meaningful Use incentive payments. Unless otherwise specified, the

relevant time period covered by Greenway's inaccurate calculations of Meaningful Use measures

as described herein is January 1, 2011 through March 31, 2014.

       8.       Furthermore, Greenway violated the Anti-Kickback Statute through its provision

of remuneration to users in exchange for recommending Prime Suite to other prospective users.

Unless otherwise specified, the relevant time period covered by Greenway' s payment of

unlawful kickbacks as described herein is from January 1, 2011 to December 31, 2017.

       9.       Greenway's false and fraudulent statements and conduct violate the federal False

Claims Act (FCA), 31 U.S.C. §§ 3729 et seq.

I.     PARTIES

        10.     The United States, acting through CMS, administers the Medicare program, Title

XVIII of the Social Security Act, 42 U.S.C. §§ 1395, et seq, ("Medicare"), administers grants to

states for Medical Assistance Programs ("Medicaid") pursuant to Title XIX of the Social

Security Act, 42 U.S.C. §§ 1396, et seq, and also administers the Meaningful Use program. The

United States, acting through HHS's Office of the National Coordinator for Health Information

Technology ("ONC") administers a certification program for EHR technology.




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        11.     Greenway is a privately held corporation headquartered in Tampa, Florida.

Greenway is a health information technology and services provider that, serves more than

100,000 providers and 13,000 medical organizations across the United States.

        A.      Relevant Greenway Employees

        12.     Jared Howerton was employed by Greenway from January 2001 until February

2015. Between January 2011 and December 2013, Howerton was a Product Manager with

certain responsibilities for supervising the design of Greenway' s Prime Suite software and

ensuring its compliance with Meaningful Use incentive payment requirements.

        13.     Kevin Kornegay was employed by Greenway from June 2010 until April 2015.

Between January 2011 and December 2013, Kornegay was a Business Analyst with certain

responsibilities for designing Greenway' s Prime Suite software and ensuring its compliance with

Meaningful Use incentive payment requirements. During that period of time, Kornegay reported

to Howerton.

        14.     Venisa Hardin was Greenway's Vice President of Provider Services Research and

Development from May 2001 through December 2013, and Vice President of Product

Management from January 2014 through June 2014.

        15.     Susan Tice was a Business Analyst at Greenway from December 1999 to May

2006, a Research and Development Support Liaison from May 2006 to October 2007, and

Greenway's Director of Support from October 2007 to June 2014.

        16.     Johnathan Samples was a Software Developer at Greenway from 1998 until 2007,

Vice President for Prime Suite from 2007 until 2010, Executive Vice President Research and

Development from 2010 until 2014, and Chieflnnovation Officer from January 2014 until June

2014.




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II.    JURISDICTION AND VENUE

        17.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction for actions

brought pursuant to 31 U.S.C. §§ 3729 and 3730. This Court has supplemental jurisdiction over

the common law cause of action under 28 U.S.C. § 1367(a).

       18.      This Court has personal jurisdiction over Greenway and venue is appropriate in

this Court under 31 U.S.C. § 3732(a) because Greenway transacts business in this District and

caused the submission of false claims from this District.

III.   STATUTORY AND REGULATORY BACKGROUND

       A.       The False Claims Act

       19.      The FCA imposes civil liability on any person who, inter alia: (l) knowingly

presents, or causes to be presented, to an officer, employee, or agent of the United States a false

or fraudulent claim for payment or approval; and (2) knowingly makes, uses, or causes to be

made or used a false record or statement material to a false or fraudulent claim. 31 U.S.C.

§§ 3729(a)(l)(A) and (B).

       20.      The FCA defines a "claim" to include "any request or demand, whether under a

contract or otherwise, for money or property and whether or not the United States has title to the

money or property that-(i) is presented to an officer, employee, or agent of the United States; or

(ii) is made to a contractor, grantee, or other recipient, if the money or property is to be spent or

used on the Government's behalf or to advance a Government program or interest .... " Id

§ 3729(b)(2).

       21.      The FCA defines the terms "knowing" and "knowingly" to mean "that a person,

with respect to information-(i) has actual knowledge of the information; (ii) acts in deliberate




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ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the truth

or falsity of the information." Id. § 3729(b)(l)(A). The FCA does not require proof of specific

intent to defraud. Id. § 3729(b)(l)(B).

        22.       The FCA defines "material" as "having a natural tendency to influence, or be

capable of influencing, the payment or receipt of money or property." Id. § 3729(b)(4).

        23.       Any person who violates the FCA is liable for a mandatory civil penalty for each

such claim, plus three times the damages sustained by the Government. Id. § 3729(a)(l).

        B.        The Anti-Kickback Statute

        24.       The federal Anti-Kickback Statute (AKS), 42 U.S.C. § 1320a-7b(b), provides, in

pertinent part:

        (2)       Whoever knowingly and willfully offers or pays any remuneration (including any
                  kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in
                  kind to any person to induce such person-

                  (A)    To refer an individual to a person for the furnishing or arranging for the
                         furnishing of any item or service for which payment may be made in
                         whole or in part under a Federal health care program, or

                  (B)    To purchase, lease, order or arrange for or recommend purchasing,
                         leasing, or ordering any good, facility, service, or item for which payment
                         may be made in whole or in part under a Federal health care program,

                  Shall be guilty of a felony and upon conviction thereof, shall be fined not more
                  than $25,000 or imprisoned for not more than five years, or both.

        25.       Accordingly, EHR developers-such as Greenway-may not offer or pay any

remuneration, in cash or in kind, directly or indirectly, to induce physicians or hospitals or others

to order or recommend their products if those products are paid for in whole or in part by Federal

healthcare programs such as Medicare and Medicaid.

        26.       The Patient Protection and Affordable Care Act (PPACA), Publ. L No. 111-148,

124 Stat. 119 (2010), provides that violations of the AKS are per se violations of the FCA: "a



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claim that includes items or services resulting from a violation of this section constitutes a false

or fraudulent claim for the purposes of [the FCA]."

       27.      The PPACA also clarified the intent requirement for the Anti-Kickback Statute,

and provides that "a person need not have actual knowledge of this section or specific intent to

commit a violation" of the AKS in order to be found guilty of a "willful violation."

       C.       Certified EHR Technology and the Meaningful Use Program

       28.      On February 17, 2009, Congress enacted the HITECH Act to promote the

adoption and meaningful use of certified EHR technology. Under the HITECH Act, ONC

established a certification program for EHR technology. As part of the certification program, an

EHR developer that seeks to have its software certified must provide documentation and

evidence to an ONC-authorized accredited testing laboratories (ONC-ATLs) and certification

bodies (ONC-ACBs) that the relevant software meets the full scope of the certification

requirements established by ONC. The ONC-ATLs and ONC-ACBs test and certify that

developers' EHRs are compliant with the certification requirements.

       29.      Through the Meaningful Use program, CMS makes incentive payments to

healthcare providers for demonstrating meaningful use of certified EHR technology. Individual

practitioners ("Eligible Professionals") could qualify for up to a total of $43,720 over five years

from Medicare (ending after 2016) and up to a total of $63,750 over six years from Medicaid

(ending after 2021 ).

        30.     In order to qualify for incentive payments under the Meaningful Use program,

Eligible Professionals were required, among other things, to: (1) use an EHR system that

qualified as certified EHR technology; and (2) satisfy certain objectives and measures relating to

their meaningful use of the certified EHR technology.




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       31.       HHS implemented the certification criteria and incentive payment requirements in

multiple stages. On January 13, 2010, HHS published in the Federal Register an interim final

rule setting forth the "2011 Edition" certification criteria for certified EHR technology, and a

proposed rule setting forth the "Stage l" meaningful use requirements for incentive payments.

HHS finalized these rulemakings by publication in the Federal Register on July 28, 2010. As

established in that final rule, in Stage 1, an Eligible Professional's use of certified EHR

technology generally needed to satisfy fifteen "core objectives" and five out of ten "menu set

objectives."

       32.       On September 4, 2012, HHS published in the Federal Register the final rules

setting forth the "2014 Edition" certification criteria for certified EHR technology, and "Stage 2"

meaningful use requirements for incentive payments. As established in that final rule, in Stage 2,

an Eligible Professional' s use of certified EHR technology generally needed to satisfy seventeen

"core objectives" and three out of six "menu set objectives."

       33.       On October 16, 2015, CMS published in the Federal Register a final rule with

comment period setting forth the "Modified Stage 2" meaningful use requirements for incentive

payments. For years 2015 through 2017, Modified Stage 2 eliminated the concept of "menu set

objectives" and required all Eligible Professionals to attest to a single set of objectives and

measures.

       34.       To obtain certification, EHR developers must represent to an ONC-ACB that their

EHR product satisfies the full scope of the certification criteria for which they have applied and

submit to and pass certification testing by an ONC-ATL.

       35.       Testing and certification are based on the scope of the specific regulatory criteria

that the developer represents its software satisfies and on which the developer requests to be




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tested and certified. Specifically, the ONC-ATL relies on representations from the developer

regarding the capabilities of its software and uses only the ONC-approved test methods that

relate to the regulatory criteria for which the developer has requested testing and certification.

The ONC-ACB likewise relies on representations from the developer regarding the capabilities

of its software and bases certification decisions on those representations and the testing

performed by the ONC-ATL.

       36.      After obtaining certification, an EHR developer must maintain that certification

by complying with all applicable conditions and requirements of the certification program.

Among other things, the EHR product must be able to accurately, reliably, and safely perform its

certified capabilities in the field. EHR developers must also cooperate with the processes

established by ONC for conducting ongoing surveillance and review of certified EHR

technology.

       37.      To qualify for incentive payments in each Stage of the Meaningful Use program,

healthcare providers were required to attest each year that they used certified EHR technology

and satisfied the applicable Meaningful Use objectives and measures. Use of certified EHR

technology and satisfaction of applicable Meaningful Use objectives and measures are material

to payment under the Meaningful Use program.

        38.      CMS payment rules concerning the Meaningful Use program recognize that

healthcare providers rely on certification for assurance that an EHR product meets the applicable

certification criteria, including that it possesses the certified capabilities that healthcare providers

will need to use to achieve relevant objectives and measures, and that the software will perform

in accordance with applicable certified capabilities.

        39.      ONC-ACBs "have a responsibility to ensure that the certifications they issue




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serve as an indication of [an EHR' s] capabilities and compliance with the certification criteria

adopted" by HHS and are expected to "conduct surveillance" that focuses on whether certified

EHRs "continue to perform 'in the field' or in a 'live' environment as they did when they were

certified." 76 FR 1282 (January 7, 2011).

       40.     HHS, in establishing the final rules for certification of health information

technology, noted that "[s]urveillance should provide additional assurances to the HIT market

that [EHRs] will continue to perform in an operational setting or 'live' environment as they did

when they were certified." Id. at 1308.

IV.    GREENWAY'S FALSE STATEMENTS AND FRAUDULENT CONDUCT IN
       CONNECTION WITH ITS 2014 EDITION CERTIFICATION

       41.     Since the start of the Meaningful Use program, in order to qualify for incentive

payments, healthcare providers have been required to use certified EHR technology. An EHR

product cannot be certified unless all applicable certification criteria and standards have been

met. Certification is material to payment under the Meaningful Use program.

       42.     As noted in the Federal Register, "[t]here are multiple benefits that stem from the

2014 Edition EHR certification criteria. Foremost, the 2014 Edition EHR certification criteria

promote enhanced interoperability, functionality, utility, and security of EHR technology

through capabilities they include and the standards they require EHR technology to meet for

certification." 45 FR 54282 (Sept. 4, 2012).

       43.     Eligibility for Meaningful Use Stage 2 incentive payments required healthcare

providers to use 2014 Edition certified EHR technology that, inter alia, utilized standardized

clinical terminology known as Systematized Nomenclature of Medicine- Clinical Terms

("SNOMED CT") in connection with software functions that enabled users to electronically

record, change, and access a patient's problem list. In particular, the 2014 Edition certification



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regulations required incorporation of SNOMED CT International Release, July 2012; and US

Extension to SNOMED CT, March 2012. 45 C.F.R. § 170.207(a)(3).

       44.      The use of SNOMED CT codes enables providers and EHRs to communicate in a

common language, which improves the quality of patient care across different providers and care

episodes. SNOMED CT was adopted, in part, because it was determined by HHS to be "the best

vocabulary to use in those certification criteria that focus on electronic health information

exchange." 77 FR 54210 (Sept. 4, 2012).

       45.      Eligibility for Meaningful Use Stage 2 incentive payments also required

healthcare providers to use 2014 Edition certified EHR technology to, among other things,

generate and transmit prescriptions electronically ( commonly referred to as ePrescriptions) using

a standardized drug vocabulary known as RxNorm, which specifies each unique drug,

formulation, and dosage. 45 C.F.R. 170.314(b)(3). RxNorm codes provide a mechanism for

ensuring the accuracy of ePrescriptions and for allowing EHR systems to communicate and

interact accurately and efficiently with other EHR systems, with pharmacies, and with health

information networks.

       46.       Greenway did not adopt, implement, or fully utilize the RxNorm and SNOMED

CT standards as required for certification as a complete EHR at the time of Prime Suite's testing.

Likewise, Prime Suite did not fully utilize these standards in the product Greenway put into

production for use in the field. Greenway thereby caused Prime Suite to be tested, certified, and

put into production when it did not fully comply with the regulatory criteria and standards.

        47.      Thus, and as described in further detail below, Greenway obtained its Prime Suite

certification through fraudulent means.




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        A.        GREENWAY'S_PLAN TO SHORTCUT CERTAIN FUNCTIONALITY
                  TO PASS CERTIFICATION TESTING AND BECOME ONE OF THE
                  FIRST DEVELOPERS CERTIFIED TO THE 2014 EDITION

       48.       Greenway was one of the later EHR software developers to achieve 2011 Edition

certification-obtaining certification of its Prime Suite product on October 14, 2010. Greenway

felt that its delay in obtaining certification put it at a competitive disadvantage as compared with

other developers in the EHR market. On October 21, 2010, Howerton lamented that "priority

wasn't made" to be the first to certify and that the "[b]ottom line is that we should have made it a

priority to be the first certified." Greenway was therefore determined to ensure that it was one of

the first developers certified to the 2014 Edition.

       49.       Beginning as early as 2012, Kornegay and Howerton were tasked with

responsibility for securing certification to the 2014 Edition for Prime Suite and were both

pressured and incentivized by their superiors, including Samples, to ensure that Prime Suite was

one of the first EHR products certified to the 2014 Edition.

        50.      In order to ensure early certification, Greenway began planning to "shortcut[]

some functionality" as early as Fall 2012. On October 29, 2012, a Greenway developer emailed

Kornegay and a team of software developers about a "MU2 Kickoff Call." The agenda included

the following:

        o     MU2 lnital Cert, target deliverable 12/1
        o     Shortcutting some functionality

        51.      Thus, Greenway planned to obtain what it referred to internally as "initial"

certification by "shortcutting some functionality."

        52.      On November 29, 2012, Howerton sent an email to his superior, Hardin, carbon

copying Kornegay, confirming that Greenway was "definitely going to attempt some hacks in

order to be the first certified vendor."



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       53.      Howerton additionally noted that ACBs were "specifically going to be looking for

hacks and failing criteria for vendors who do it" and queried whether "this changes Johnathan's

option [sic] regarding our analysis/development/testing timeline efforts to be the first certified

vendors vs getting a real solution built and tested?" Based on information and belief,

"Johnathan" in this context refers to Johnathan Samples.

       54.      With certification testing scheduled to begin in January 2013, Kornegay was

offered a bonus contingent on Greenway obtaining certification in the first round of developers.

On December 6, 2012, Kornegay told Howerton that "J gave me a deadline and a bonus this

morning." Kornegay admitted he was "not sure it can be done, but my fingers will be worn

down to the nubs either way. It's a big fl'cking carrot." Again, based on information and belief,

"J" in this context refers to Johnathan Samples.

       55.      On January 6, 2013, Hardin emailed Kornegay and Howerton regarding a meeting

to "discuss the post certification plan and the biggest thing needed for that to be meaningful is an

idea of the size and scope of the gaps between what we have and what we need. This is

obviously secondary to what you're doing for certification but I wanted to see if you have a

general idea .... "

       56.      Howerton emailed Hardin and Samples on January 14, 2013, stating, "the intent

of this functionality was only being developed for MU2 initial certification" and that Greenway's

"initial goal was to throw things as fast as possible together for certification .... "

        57.     Greenway thus initially prepared Prime Suite only to pass testing, and not to

actually fully comply with the functionalities needed to satisfy the regulatory criteria required for

certification. Greenway supervisors and managers-including Samples, Hardin, and

Howerton-were specifically aware of and orchestrated Greenway's plan to cheat certification




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testing. Greenway did not rectify all of the "gaps" between what it provided for certification

testing and what was required for doctors to have a fully functional EHR that satisfied the

requirements for payment.

         B.       GREENWAY FAILED TO SATISFY THE CERTIFICATION CRITERIA
                  AND MADE FALSE STATEMENTS IN OBTAINING CERTIFICATION
                  AND MARKETING PRIME SUITE

        58.      The Certification Commission for Health Information Technology (CCHIT) was a

private company approved by ONC as an ONC-ATL and ONC-ACB to test and certify EHR

products that met certification requirements. Greenway retained CCHIT and paid CCHIT for its

services in connection with the testing and certification of Prime Suite to the 2014 Edition of the

certification criteria.

        59.      CCHIT utilized standardized testing protocols, or test scripts, which identified

each step taken during testing. Test scripts were routinely provided to EHR developers in

advance of their test date, and here CCHIT provided the test scripts to Greenway in advance of

Prime Suite's testing. Among other things, the test scripts informed the EHR developers of

precisely which drugs and corresponding RxNorm drug codes would need to be ordered to pass

testing and, similarly, what diagnoses and corresponding SNOMED-CT codes would need to be

demonstrated.

        60.      Notably, certification testing does not confirm that each criteria and standard is

satisfied in full and under every conceivable scenario. Rather, testing takes a snapshot of a

product's capabilities by ensuring it can pass certain test cases for which developers are provided

the test scripts in advance.

        61.      In January 2013, Greenway submitted an application to CCHIT for testing and

certification of Prime Suite to the 2014 Edition. As part of the application, Greenway




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represented that Prime Suite satisfied the certification criteria for a complete EHR and was

capable of meeting those criteria and using the required standards in the field. This

representation was false. At the time that Greenway submitted Prime Suite for certification

testing, its employees knew that it did not adequately perform numerous capabilities required by

the certification criteria.

        62.     Howerton and Kornegay were responsible for preparing and submitting Prime

Suite's attestation documents to its ACB and for understanding the regulations and ensuring

Greenway' s compliance therewith.

        63.      Greenway represented to CCHIT, its ONC-ATL and ONC-ACB, that Prime Suite

satisfied the ePrescribing requirements, including implementation of the Rx.Norm vocabulary.

45 C.F.R. §170.314(b)(3). However, at that time and for years afterwards, Greenway had not

implemented the Rx.Norm vocabulary into Prime Suite's electronic prescription functions.

        64.      The testing demonstrations and representations related to Greenway's application

for Prime Suite ePrescribing certification were false.

        65.      In addition to Rx.Norm codes, Greenway also falsely represented Prime Suite's

compliance with other certification requirements. Specifically, Greenway misrepresented that

Prime Suite maintained and communicated patients' problem lists using SNOMED-CT codes so

that other EHR systems would be able to read and incorporate important patient information.

Prime Suite thereby was unable to satisfy in full all requirements related to Consolidated Clinical

Documents (CCDA) at the time it was being tested for certification.

        66.      In connection with transmitting SNOMED-CT codes for purposes of transmitting

CCDA documents, a Greenway employee internally described the plan for passing testing as

"not truely [sic] honest lol."




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        67.     Kornegay and Howerton reviewed the test scripts in advance of testing and

worked off those documents in advising Greenway' s computer programmers in connection with

developing the Prime Suite software in a manner to pass certification testing without Prime Suite

actually being able to meet all of the certification criteria, including use in full of the required

vocabulary standards.

        68.     After practicing the test scripts that its ACB had provided, Howerton and

Kornegay recognized that Greenway's Prime Suite product was unlikely to pass and thus would

not obtain certification. After identifying Prime Suite's inability to meet the regulatory criteria,

Kornegay and Howerton, with the assistance of a third party, manipulated Prime--£uite's software

coding to cover up the failings and to pass testing and obtain certification.

        69.     On January 14, 2013, on the eve of testing, Howerton emailed his superiors,

including Samples and Hardin, noting that because Greenway' s "initial goal was to throw things

as fast as possible together for certification, we need to really take time and make sure what we

are planning to deliver is done the right way for our customers and their patient safety before

pushing it out." Despite this warning, Greenway did not ensure what it delivered was "done the

right way for [Greenway] customers and their patient safety" before Prime Suite was released for

use in the live patient treatment setting.

        70.     Despite Samples' and Hardin's receipt of this communication, Greenway

nonetheless went forward with CCHIT's testing of Prime Suite, which had been specifically

coded to pass the test scripts but which otherwise failed to satisfy the full scope of the regulatory

requirements. Prime Suite thus passed certification testing when Greenway knew its product did

not comply with the 2014 Edition certification regulatory criteria. Greenway then released Prime

Suite to its users knowing it did not comply with regulatory requirements.




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        71.      CCHIT tested and certified the Prime Suite product that Greenway presented in

January 2013. Greenway knew this product did not fully meet all of the certification criteria

either at the time CCHIT tested it or thereafter in the production version of the software used in

thousands of providers' offices across the country.

        72.     In January 2014, CCHIT discontinued serving as an ONC-ACB and Greenway

retained the Drummond Group ("Drummond") to serve as its ACB for Prime Suite for the

continued certification and associated requirements for continued post-market surveillance of

Prime Suite.

        73.     CCHIT's and Drummond's testing, surveillance, and certification efforts did not

uncover that Prime Suite did not truly meet the full scope of the 2014 Edition certification

requirements or that Greenway had rigged its Prime Suite software for purposes of passing

certification testing.

        74.     In light of Greenway's misrepresentations to its ACBs and its acts and/or

omissions described above, Prime Suite did not qualify as certified EHR technology.

        75.     Relying on Greenway's representations that its Prime Suite product was

certified-which certification Greenway, as described above, had fraudulently induced-

Greenway's users submitted to CMS and state Medicaid agencies thousands of Stage 2 claims

and unknowingly falsely attested that they had satisfied the requirements of Meaningful Use by

using certified EHR technology and were thereby eligible to receive Meaningful Use incentive

payments.




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V.     GREENWAY INTENTIONALLY INFLATED USER ATTESTATION METRICS
       TO ENSURE USER RECEIPT OF INCENTIVE PAYMENTS TO WHICH THEY
       WERE NOT ENTITLED

       76.      In addition to fraudulently obtaining 2014 Edition certification for its Prime Suite

product, Greenway also inflated certain Prime Suite users' Stage 1 Meaningful Use attestation

metrics to ensure the users satisfied attestation thresholds and received incentive payments.

       77.      For Stage 1 of the Meaningful Use program, eligible professionals had to satisfy

"Core" objectives and associated measures and multiple "Menu" objectives and associated

measures in order to obtain an incentive payment from CMS. If an eligible professional failed to

satisfy any "Core" measures, they were ineligible to receive an incentive payment.

       78.      Core Measure 13 required that "clinical summaries [are] provided to patients for

more than 50 percent of all office visits within 3 business days." 42 C.F.R. § 495.6(d)(13)(ii)

("the Clinical Summaries Measure"). A clinical summary is an after-visit summary that provides

a patient with information relating to the visit such as updated vital signs, procedures performed

and topics covered during the visit, an updated medication list, and a list of recommended tests.

75 FR 44358 (July 28, 2010).

       79.       CMS included the requirement of providing clinical summaries as a core

objective because "it is integral to involving patients and their families in their provision of

care." 75 FR 44359 (July 28, 2010). A clinical summary also assists patients ensure the

information recorded in the EHR is correct, to recall the names of medications, and to

communicate with family members as to their conditions and treatment.

        80.      In order to satisfy the Clinical Summaries Measure-and thus to be eligible to

receive Meaningful Use incentive payments-an eligible professional must show that it provided

clinical summaries for more than half of all office visits within three business days. In other




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words, when the number of office visits for which a clinical summary was provided (the

numerator) was compared to the total number of office visits conducted by the practice (the

denominator), the resulting percentage must have been larger than 50 percent for the relevant

reporting period. The following equation shows the Clinical Summaries Measure requirement,

according to the published regulation:

                  (Office visits with summaries provided)
                                                              > 50 percent

                            (Total office visits)

See 42 C.F.R. § 495.6(d)(13)(ii); 75 FR at 81886 (Dec. 29, 2010).

       81.     If an eligible professional fell short of the 50 percent requirement for the Clinical

Summaries Measure, he or she would not be entitled to any Meaningful Use payment.

       82.     Notwithstanding this requirement, Prime Suite went to market with a

calculation for Clinical Summaries based on unique patient visits, not total patient visits.

Greenway knew or should have known prior to releasing Prime Suite to users that its

Clinical Summaries calculations were incorrect and could not be relied on to obtain a

Meaningful Use payment.

       83.     In summer 2011, Greenway determined that some of its users who had

previously appeared to be on track to meet the Measure would in fact fail to meet the 50

percent threshold when they attested if the correct calculation was implemented. Greenway

did not correct the faulty calculation and caused its users to attest with incorrect data.

       84.      On or about December 19, 2011, a Greenway employee informed Kornegay by

email of the error in the calculation of the Clinical Summaries Measure. In response, Kornegay

sent an email to Greenway employees, including Howerton, stating, in part, that his "vote" was

to not correct the calculation, and noting that Greenway "customer's [sic] clinical summary



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numbers will be decimated if we make the change to visit level."

        85.       On or about December 20, 2011, through an instant messaging program,

Kornegay sent a message to Howerton stating that he was preparing an email to ONC regarding

"clinical summaries changing randomly."

        86.       The issue languished into 2012. On or about April 4, 2012, Kornegay sent the

following messages to Howerton over the instant messaging program:

                  KEVIN KORNEGAY: I think the fix is easy enough
                  KEVIN KORNEGAY: the measure doesn't need to be changed, just the roll up
                  KEVIN KORNEGAY: but where it gets messy is that we need to relay to our
                  customers
                  KEVIN KORNEGAY: and they will not be happy
        87.       On or about July 9, 2012, Howerton sent an email to Kornegay, Hardin, and Tice

reporting on an analysis performed by another Greenway employee showing that if the change

were made to the Clinical Summaries Measure, "827 providers went from above 50% (passing)

to below 50% (failing)." Howerton also raised the question as to whether Greenway should

correct its false data.

        88.       On or about July 11, 2012, Kornegay emailed Howerton and Tice: "I have much

trepidation about changing the way this measure calculates at this point in time. There are 800+

physicians who fall out of compliance due to this change, and 1 (one) who moves into

compliance. I want to be honest and transparent as possible, but I think this will create some real

problems .... "

        89.       On or about July 13, 2012, Tice responded to Kornegay and Howerton stating, "I

think that is probably the best course of action given the impact of making this change." On

information and belief, Tice was indicating that the "best course of action" was not to submit

accurate user attestation data so that users failing to qualify for incentive payments would

nonetheless receive federal funds.


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       90.      On or about July 13, 2012, Kornegay and Howerton had the following exchange

over an instant messaging program:

       KEVIN KORNEGAY: when do we have to decide by for clinical v [visit] summary

       JARED HOWERTON: like ow
       JARED HOWERTON: now

       KEVIN KORNEGAY: is this how Truman felt when he was staring at the phone?

       JARED HOWERTON: not possible according to [another Greenway employee]
       JARED HOWERTON: which I don't understand really

       KEVIN KORNEGAY: yea that's what he told me this morning

       JARED HOWERTON: but I do understand
       JARED HOWERTON: a little bit
       JARED HOWERTON: I am tom
       JARED HOWERTON: I really want to fix it

       KEVIN KORNEGAY: I didn't sleep well last night thinking about it
       KEVIN KORNEGAY: me too
       KEVIN KORNEGAY: but I don't want to get fired

       JARED HOWERTON: that settles it
       JARED HOWERTON: you can't sleep, there is something wrong
       JARED HOWERTON: but then after we make the change, we won't be able to sleep
       either ....
       JARED HOWERTON: the good news is ..... it isn't like it affects health
       JARED HOWERTON: it just affects$$$

       KEVIN KORNEGAY: no patients are jeopardized

       JARED HOWERTON: right

       KEVIN KORNEGAY: just incentive money

       91.      On or about July 13, 2012, Howerton wrote to Kornegay, Tice and Hardin stating:

"I am really struggling with this one. I really do want to fix it (I think we all want to) but the PR

is not going to be good."

       92.      On or about July 13, 2012, Tice emailed Kornegay, Howerton, Hardin and




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another Greenway employee: "I am going to have to run this by [Vice President of Customer

Support] as there will definitely be a PR fallout. I am leaning towards fixing it in MU2." Upon

information and belief, "MU2" refers to Meaningful Use Stage 2.

       93.       On or about July 13, 2012, Kornegay emailed Tice: "I just got out ofV[enissa]'s

office. She sounds sold on waiting for MU2 .... " On or about July 13, 2012, Tice responded to

Kornegay, "Thanks. I think I am in agreement. Do you have concerns about waiting or are you

okay with it?"

       94.       On July 16, 2012, Hardin emailed: "[n]ot making any changes until MU2

seems like the least liability."

       95.       On or about September 29, 2012, Kornegay received an email from Howerton

acknowledging that Greenway decided not to make a change because "[m]any customers who

would have passed MU would have th[e]n failed MU ifwe made the change."

       96.       On or about September 29, 2012, Kornegay emailed Howerton: "we decided to

hold off until the 1st of Jan. 2013 to make a change because, according to queries [another

Greenway employee] ran for us, it would push a large amount of our providers from compliant to

non-compliant for the clinical summaries measure."

       97.       Greenway thus knowingly and intentionally decided to continue to proceed

for program year 2012 with incorrect data and cause its users to submit inaccurate data in

connection with applications for federal Meaningful Use funds. Greenway supervisors and

managers-including Hardin, Tice, and Howerton-thus knew of and caused Greenway

users to submit inaccurate and fraudulent data to CMS for purposes of causing taxpayer

funds to be improperly provided to Greenway customers.

       98.       Greenway's goal in allowing its Prime Suite users to unknowingly utilize an




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incorrect calculation methodology was to unlawfully provide these users with inflated data on

the Clinical Summaries Measure, which would enable those users to obtain Meaningful Use

program payments to which they were not entitled.

       99.     Greenway released Prime Suite patch number 16.1SP3 on or about February

18, 2013 to correct the software's calculation of the Clinical Summaries Measure. Some

Greenway users did not receive the patch that would have corrected the calculations error until

later in the year. Consequently, those users thought they were meeting the measure throughout

the course of the year; after the patch was implemented, however, certain users went from

meeting the regulatory thresholds to failing to meet them.

        100.   Greenway, knowing that this set of Prime Suite users would not pass the Clinical

Summaries measure if they used a correct calculation, provided approximately fifty (50) users

with their prior, incorrect calculations so that they could attest to meeting the Clinical Summaries

Measure and obtain federal incentive payments.

        101.   On or about November 27, 2013, in response to forwarded emails from a

customer complaining that after upgrading to a new version of Greenway's software in the

middle of 2013 its percentage on the Clinical Summaries Measure dropped below 50 percent,

Tice emailed Kornegay, Howerton, and Hardin saying "[i]t was my understanding that a query of

the old calculation could be provided for site's [sic] that ended up in this condition .... is that

correct?" On or about November 27, 2013, Kornegay responded to the group that "I don't think

we have been doing that, but I don't see why we couldn't."

        102.   On December 4, 2013, Tice wrote Kornegay about receiving "an irate call from

Princeton and Rutgers today threatening to go to the Attorney General (give me a break). I think

we need to talk further about how to put the old calculation back for these sites that were in the




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green before upgrading .... " Kornegay responded that he was "not opposed to that" but

acknowledged, "that there could be recourse because I think the auditors are looking at the

denominator for that one." Thus, Kornegay explicitly knew that CMS had an audit program to

review Meaningful Use attestation data in general and as to the Clinical Summaries Measure in

particular.

        103.    Moreover, Kornegay in December emailed CMS (carbon copying Hardin, Tice

and Howerton) concerning Greenway's use of an inaccurate calculation methodology. CMS

advised Kornegay that Greenway users could not use the faulty calculation in connection with

submitting data for purposes of Meaningful Use payments. Kornegay and Greenway were thus

explicitly aware that not only was their data inaccurate, but that CMS performed post-payment

audits to identify improper payments and that CMS did not authorize Greenway's use of a faulty

calculation methodology.

        104.    Kornegay and Greenway nonetheless again went forward with using the incorrect

data.

        105.    Indeed, on December 31, 2013, Tice sent an email to a Greenway customer

support mailbox stating in part, "For customers that need the original calculation logic of once

per patient per year, we can enable it for your attestation."

        106.    On March 25, 2014, in response to an emailed question from Kornegay about how

many sites had been given their "'original' numbers if they request it," Tice wrote to Kornegay,

confirming, "Yes, we have been doing that for a while now. I would say we have done at least

50 sites - maybe more."

        107.    As before, Greenway's goal in enabling these Prime Suite users to utilize an

incorrect calculation methodology was to unlawfully provide these users with inflated data on




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the Clinical Summaries Measure, which in turn would result in these users obtaining Meaningful

Use program payments to which they were not entitled.

       108.    Consequently, Greenway caused Prime Suite users to submit inaccurate

attestation information in connection with their requests for Stage 1 Meaningful Use incentive

payments.

       109.    Beyond the intentional inflation of users' Clinical Summaries measure, Greenway

employees themselves questioned the reliability of Prime Suite attestation data. Prime Data

Cloud was a system utilized by Prime Suite to record and track user attestation data and

Greenway employees confirmed that it could not be relied upon to produce accurate user data.

       110.    Shortly after certification testing, on January 15, 2013, Kornegay stated that "our

dashboard in production is f' d up like a donkey eating fermented figs."

       111.    On November 26, 2014, Kornegay opined on Greenway's efforts to use the Prime

Data Cloud for purposes of producing user attestation data, noting "probably the biggest is the

[Prime Data Cloud] debacle because it means that everyday necessitates being shifty and what I

ultimately feel is dishonest. basically for a year i 've been point man on what slithery options we

have forced our users into."

       112.    That same day Jared Howerton described the Prime Data Cloud as "a pack of

garbage like scattered all down the street into the next state." Kornegay responded, "yes it's a

mess." Kornegay went on to opine that the system does not work for users "with any integrity."

VI.    GREENWAY'S PRIME SUITE REFERRAL PROGRAM PAYMENTS VIOLATE
       THE ANTI-KICKBACK STATUTE

       113.    From January 1, 2011 through December 31, 2017 (hereinafter "the relevant time

period"), Greenway paid unlawful remuneration to influential customers for purposes of

increasing sales. Among other things, at various times during the relevant period, Greenway



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made unlawful payments pursuant to "Ambassador Programs," "Reference Programs," and other

referral programs, and provided gifts and other things of value in order to induce its users to

recommend Greenway.

        114.   Through its "Ambassador Programs," Greenway paid favored customers to host

site visits, complete reference calls with prospective customers, and engage in other promotional

activity.

        115.   Greenway gave "Ambassadors" credits toward their annual fees, either as flat sum

amounts, or as discounts equal to as much as 15 percent off software support fees.

        116.   Greenway selected its Ambassador practices based in part on how positive that

practice was likely to be in speaking about Greenway. In particular, whether and how positively

a user reviewed Greenway' s products in industry surveys was weighed heavily by Greenway

when determining whether a practice was suitable for its Ambassador Program. Moreover,

where Greenway discovered that a current Ambassador practice was not sufficiently positive

about Greenway' s products and services, that practice would be evaluated for removal from the

Ambassador Program.

        117.   Greenway further provided training and guidance to its Ambassadors about how

best to promote its products and services, and failed to disclose to prospective customers that its

Ambassadors were compensated by Greenway.

        118.   One of the central goals of Greenway's Ambassador Program was to generate

sales. Greenway tracked the amount of money provided to Ambassadors and compared those

amounts to the amount of sales generated as a result of those payments. Greenway regularly

evaluated its return on investment under the Ambassador program-both at the level of the

individual Ambassador Practice, and the Ambassador Program as a whole.




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        119.    Greenway's "Reference Program" was similar in many respects to its Ambassador

Program, but was available to a larger cross-section of Greenway' s users. Greenway users that

were not already "Ambassadors" could request to participate in Greenway' s Reference Program

and likewise receive credits for hosting site visits and completing reference calls.

        120.    Greenway based selection of its Reference Program participants at least in part on

how positive that practice was in speaking about Greenway and considered whether to remove

practices from the Reference Program when the practices were not sufficiently positive.

Greenway also provided training to Reference Program participants about how best to promote

its products and services.

        121.    Greenway did not expect Reference Program participants to be candid about

problems with Greenway' s products or services but rather expected Reference Program

participants to speak only positively about Greenway and its products.

        122.    Reference Program participants received credits based upon the size of the

prospective customer. For example, in 2015, Reference Program practices would receive a $500

credit for hosting a prospective customer with a practice size of one to three providers, and a

$1,500 credit for hosting a prospective customer with a practice size of four or more providers.

        123.    Greenway paid Reference Program participants larger credits for hosting larger

prospective practices because a larger practice would be required to purchase more licenses from

Greenway.

        124.    Moreover, Greenway paid Reference Program participants for the site visits and

reference calls that resulted in a sale.

        125.    In certain instances, Greenway sales personnel also notified prospective

customers of the prospect of receiving Reference Program credits in the future, as part of an




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effort to "close the sale" and convince prospective customers to purchase Greenway' s products

and services.

        126.    Greenway additionally paid referral credits to current users who recommended

prospective customers to Greenway. The size of the credit that Greenway paid for such referrals

was directly tied to the size of the prospective client. For example, in 2014, Greenway paid $750

for the referral of a one or two physician group, and $2,000 for the referral of a group of three or

more physicians. Moreover, Greenway only paid referral credits for referrals that actually

resulted in a sale.

        127.    Greenway also lavished gifts and other things of value on its most favored

customers during the relevant time period, including providing iPads, meals, travel, tickets to

sporting events and entertainment, all for the purpose of inducing these users to either continue

using Greenway' s products or recommend Greenway to other health care providers who would

and did use federal healthcare program funds to purchase Greenway's products and services.

        128.    In connection with just the referral and reference payments, Greenway doled out

approximately $756,855.00 between 2011 and 2017 in connection with Prime Suite.

                                          COUNTI
                          False Claims Act, 31 U.S.C. § 3729(a)(l)(A)

        129.    Through the conduct alleged above, Greenway knowingly caused healthcare

providers who used its software to present false or fraudulent claims for federal incentive

payments that were paid or approved by the Government in violation of 31 U.S.C.

§ 3729(a)(l)(A).

        130.    The United States has suffered actual damages and is entitled to recover treble

damages plus a civil monetary penalty for each false claim.




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                                         COUNT II
                          False Claims Act, 31 U.S.C. § 3729(a)(l)(B)

         131.   Through the conduct alleged above, Greenway knowingly made or used false

records or statements material to false or fraudulent claims paid or approved by the Government

in violation of31 U.S.C. § 3729(a)(l)(B).

         132.   As a result of the false records or statements made by Greenway, the United

States has suffered actual damages and is entitled to recover treble damages plus a civil monetary

penalty for each false claim.

                                           COUNT III
                                        Unjust Enrichment

         133.   The United States claims the recovery of all monies by which Greenway has been

unjustly enriched, including profits earned by Greenway because of the unlawful conduct alleged

above.

         134.   Greenway was unjustly enriched, and is liable to account and pay such amounts,

which are to be determined at trial, to the United States.

         135.   By this claim, the United States requests a full accounting of all revenues and

costs incurred by Greenway, and disgorgement of all profits earned and/or imposition of a

constructive trust in favor of the United States on those profits.

                                             PRAYER

         WHEREFORE, Plaintiff the United States of America prays for judgment against the

Defendant as follows:

         136.   On Counts I and II under the False Claims Act, for the amount of the United

States' damages, trebled as required by law, and such civil penalties as are required by law,

together with such further relief as may be just and proper.




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       137.    On Count III for unjust enrichment, for the damages sustained and/or amounts by

which Greenway retained illegally obtained monies, plus interest, costs, and expenses, and such

further relief as may be just and proper.

Dated: February 6, 2019                             Respectfully submitted,

                                                    UNITED STATES OF AMERICA

JOSEPH H. HUNT                                      CHRISTINA E. NOLAN
Assistant Attorney General                          United States Attorney


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